Case: 2:23-mj-00693-CMV Doc #: 1-1 Filed: 12/12/23 Page: 1 of 7 PAGEID #: 2




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                                                           2:23-mj-693
Case: 2:23-mj-00693-CMV Doc #: 1-1 Filed: 12/12/23 Page: 2 of 7 PAGEID #: 3
Case: 2:23-mj-00693-CMV Doc #: 1-1 Filed: 12/12/23 Page: 3 of 7 PAGEID #: 4
Case: 2:23-mj-00693-CMV Doc #: 1-1 Filed: 12/12/23 Page: 4 of 7 PAGEID #: 5
Case: 2:23-mj-00693-CMV Doc #: 1-1 Filed: 12/12/23 Page: 5 of 7 PAGEID #: 6
Case: 2:23-mj-00693-CMV Doc #: 1-1 Filed: 12/12/23 Page: 6 of 7 PAGEID #: 7
Case: 2:23-mj-00693-CMV Doc #: 1-1 Filed: 12/12/23 Page: 7 of 7 PAGEID #: 8




                              12
